Case 1:21-cv-03092-RM-SKC Document 10-2 Filed 12/22/21 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-3092-NYW

  CARLOS CUESTA,

         Plaintiff,

  v.

  DTC LODGING LLC D/B/A DAYS INN
  BY WYNDHAM ENGLEWOOD DENVER
  TECH CENTER

         Defendant.


   ORDER RE DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS

         The Court having reviewed Defendant’s Motion for Judgment on the Pleadings, the

    response, and reply, and good cause appearing,

         IT IS ORDERED granting Defendant’s Motion and entering Judgment against

    Defendant as follows:

         •      Declaring that Defendant, at the commencement of the subject lawsuit, was

    and is in violation of Title III of the Americans with Disabilities Act.

         •      Injunctive relief against Defendant, including an order to make all readily

    achievable alterations to the facilities, including to make reasonable modifications in

    policies, practices or procedures, when such modifications are necessary to afford all

    offered goods, services, facilities, privileges, advantages or accommodations to

    individuals with disabilities.



                                                                               8015658v1(70852.1)
Case 1:21-cv-03092-RM-SKC Document 10-2 Filed 12/22/21 USDC Colorado Page 2 of 2




        •       Inviting the Parties to apply for their attorneys’ fees, costs and litigation

    expenses.

        DATED this ___ day of ____________________________, 2021.


                                                   MAGISTRATE JUDGE NINA Y. WANG




                                               2

                                                                            8015658v1(70852.1)
